       Case 3:06-cr-05668-FDB          Document 69         Filed 02/05/07     Page 1 of 1




                                                                     Honorable Franklin Burgess

                         UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON, TACOMA

UNITED STATES OF AMERICA,           )
                                    )                 Case No. CR06-5668FDB
                   Plaintiff,       )
                                    )
            v.                      )                 ORDER CONTINUING MOTION
                                    )                 CUTOFF DATE
WING HO JIMMY HO, et al.,           )
                                    )
               Defendants.          )
____________________________________)

       Upon the foregoing stipulation of the parties, and upon all of the papers and proceedings

previously filed herein, the court hereby extends the motion cutoff date for the defendants Wing

Ho Jimmy Ho, King Yin Peter Fong, Ying Wai Wong and Ka Wai Andy Cheung until February

12, 2007.

       Dated this 5th day of February, 2007.




                                               A
                                               FRANKLIN BURGESS
                                               United States District Judge
Presented by:_/s/ Michael Nance_______
Michael Nance
Defense Attorney



                                                              MICHAEL NANCE
                                                              ATTORNEY AT LAW
                                                              615 SECOND AVENUE, SUITE 760
                                                              SEATTLE, WASHINGTON 98104
                                                              (206)624-3211
